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                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

    CLINTON C. BARLOW,                                     §
               Plaintiff,                                  §
                                                           §
    v.                                                     §
                                                           §                     Case No. 5:24-cv-01458-JKP
    US OFFICE OF CURRENCY, WELLS                           §
    FARGO BANK et al.,                                     §
               Defendants.                                 §

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Under the Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(i), Plaintiff Clinton C.

Barlow (“Plaintiff”) and Defendant Wells Fargo Bank (“Wells Fargo”) (together, the “Parties”)

file this Joint Stipulation of Dismissal with Prejudice (the “Joint Stipulation”) as to all claims

Plaintiff asserted or could have asserted against Wells Fargo and/or any executive, employee, or

representative of Wells Fargo1 (“Wells Fargo Defendants”) in this action.

           By way of this Joint Stipulation, the Parties agree to cause the dismissal of this case and

the dismissal of all claims that Plaintiff asserted or could have asserted against Wells Fargo and/or

Wells Fargo Defendants in this case, both with prejudice. In connection with their Joint Stipulation,

the Parties have agreed that all taxable costs, expenses, and attorneys’ fees be borne by the party

incurring same.

                                     [Signature blocks on following page.]




1
    This includes Charles Scharff, who Plaintiff may have intended to name as a defendant in this Lawsuit.


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                                                    Respectfully submitted,

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                                                    By: /s/ Clinton C. Barlow
                                                       Clinton C. Barlow

                                                    PRO SE PLAINTIFF

                                                    --AND--

                                                    TROUTMAN PEPPER LOCKE LLP
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                                                    By: /s/ Christopher G. Garcia
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                                                    ATTORNEYS FOR DEFENDANT
                                                    WELLS FARGO BANK

                                CERTIFICATE OF SERVICE

      I hereby certify that on January 14, 2025, a true and correct copy of the foregoing was sent
via CM/ECF as indicated below:

 VIA CM/ECF and Email
 Clinton C. Barlow
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 Pro Se Plaintiff

                                             /s/ Christopher G. Garcia
                                             Christopher G. Garcia



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